     Case 1:02-cr-00198-CG-C             Doc# 84        Filed 05/23/06        Page 1 of 2       PageID# 115
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations                            (6574)


                 UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF ALABAMA

        UNITED STATES OF AMERICA                           JUDGMENT IN A CRIMINAL CASE
                         V.                                (For Revocation of Supervised Release)

        CHRISTOPHER BROOKS ELLIOTT
                                                          CASE NUMBER: 1:02-CR-00198-002
                                                          USM NUMBER: 08270-003

THE DEFENDANT:                                             Peter J. Madden, Esquire
                                                           Defendant's Attorney


(X) admitted guilt to violation of supervision conditions: Mandatory Condition, #7 & Special
Condition as set out in the Amended Petition dated May 8, 2006.
()      was found in violation of supervision condition(s):
                                                                                            Date violation
Violation Number                                  Nature of Violation                       Occurred
Mandatory Condition                               New Offense                               04/10/2006
       #7                                         Technical
Special Condition                                 Technical


      The defendant is sentenced as provided in pages 2 through 2             of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.


()     The defendant has not violated condition(s)                 and is discharged as to such violation(s)
condition.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid.

Defendant's Social Security No.: 4594                          May 17, 2006
Defendant's Date of Birth: 1972                                Date of Imposition of Judgment

Defendant's Residence Address:                                 /s/ Callie V. S. Granade
Chickasaw, Alabama                                             CHIEF UNITED STATES DISTRICT JUDGE


Defendant's Mailing Address:                                   May 23, 2006
                                                               Date




AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 2 - Imprisonment
     Case 1:02-cr-00198-CG-C         Doc# 84      Filed 05/23/06      Page 2 of 2      PageID# 116
                                                                                           Judgment 2
Defendant: CHRISTOPHER BROOKS ELLIOTT
Case Number: 1:02-CR-00198-002
                                          IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of EIGHTEEN (18) MONTHS            .


()     The court makes the following recommendations to the Bureau of Prisons:



(X) The defendant is remanded to the custody of the United States Marshal.
( ) The defendant shall surrender to the United States Marshal for this district:
  ( ) at .m. on .
  ( ) as notified by the United States Marshal.
()     The defendant shall surrender for service of sentence at the institution designated by the Bureau of
       Prisons:
 ()      before 2 p.m. on      .
 ()      as notified by the United States Marshal.
 ()      as notified by the Probation or Pretrial Services Office.

                                                 RETURN
I have executed this judgment as follows:




Defendant delivered on                      to                                 at

with a certified copy of this judgment.
                                                                      UNITED STATES MARSHAL


                                                                By:
                                                                              Deputy U.S. Marshal
